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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
ALB:CPK:BTR                                        610 Federal Plaza
F. #2016R01831                                     Central Islip, New York 11722



                                                   June 27, 2019

By ECF

The Honorable Joan M. Azrack
United States District Judge
United States District Court
920 Federal Plaza
Central Islip, New York 11722

       Re:    United States v. Enayatullah Khwaja , et al
              Docket No. 18-CR-607 (JMA)                  .

              United States v. Mahmoud Ali Barakat, et al
              Docket No. 18-CR-292 (S-1)(JMA)           .


Dear Judge Azrack:

               The government respectfully submits this letter in response to the third of six
Court Orders issued from the bench on June 13, 2019 at a conference in the above-referenced
cases. All six Court Orders directed the Government to take specified action by a date
certain. The third Order directed the government to file a letter by June 27, 2019 setting
forth the government’s position regarding the disposition of jewelry seized from the
defendants. The three seizures of jewelry in issue were:

              1. Jewelry contained in TD Bank Safe Deposit Box Number 529;
              2. Jewelry contained in Bethpage Federal Credit Union Safe Deposit Box
                 Number 58; and
              3. Jewelry contained in Habib American Bank Safe Deposit Box Number 24.

All three seizures listed above have been the subject of disposition orders issued by the U.S.
Customs and Border Protection of the Department of Homeland Security. All three
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disposition notices were issued to the respective defense counsel on June 18, 2019 notifying
them that the jewelry from the three seizures was available for pickup.



                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:      /s/
                                                  Charles P. Kelly
                                                  Burton T. Ryan
                                                  Madeline O’Connor
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                                                  (631) 715-7866

cc:    All Defense Counsel
       (via ECF and E-Mail)




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